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GRACE

TO: R. L. Asher/CPD Winter Park
, T. P. Feit/CPD Sancta Ana
W. K. Rogers/CPD Somerviile
B. C. Rugg/CPD Atlanta
J. I. Stone/rcpn Chicago

DALE: July 2, 1987
FROM? —3--ites Spiak
ec: J. A. Danneker

J. S$. Hamilton
W. R. Hanlon

The attached feature article h

Construction Products Division

D. Dratnol/CPD Atlanta
B. Ganahl/CPD Santa Ana

- G. Lopinto/CPD Somerville
C. McDaniel/CPD Winter Park
A. Schivinski/CPD Chicago

SUBJECT: July Progressive Builder

P. E. Korenberg
R. H. Locke
J. J. Worthington

ighlights Attic Fill, which was

discontinued in 1984. [t seems likely that it may be circulated around.

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Attch.

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J ok
J. M. Spiak

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Pro

July 1937
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ressive Builder

ENERGY EFFICIENCY AND QUALITY HOME CONSTRUCTION

MerESH AIR.
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TECH TALK

And Now, Vermiculite

or more than a decade, manufac-

turers and government agencies
have known that vermiculite is laced
with lifethrestening asbestos fibers.
Much of it is used. as loose-fill insulation
in attics. Although two-thirds of the ver-
tajculite mined in tha United States is
used by the construction industry, lit-
tle action is being taken to safeguard
builders and remodelers who install or
remove it.

Aware of the potential health threat,
the U.S. Environmental Protection
Agency (EPA) contracted Versar Inc, of
Springfield. Va, in 1982 to asseas the
extent of human exposure to vermicu-
lite. The environmental engineering and
testing firm identified four active mines
in the United States operated by W. R.
Grace near Libby, Mont, and in Enoree,
5.C., and by Patterson Vermiculite Co.
in Enoree, and Virginia Vermiculite in
Louisa County, Va.

The investigators acknowledged that
“some vermiculite is not contaminated
with asbestos.” Nevertheless, the prob-
lem was so widespread that the Versar
researchers assumed asbestos “is pres-
ent 43 4 contaminant in the vermiculite
processed at all of the exfoliation
plants.”

When the mica-like material is mined,
it resembles a closed book with pages
of thin flakes bound tightly together.
The ore is heated above 1000°F,
evaporating the water trapped between
the flakes. The vermiculite expands, or
exfoliates, forming the final low-density,
free-flowing product. In 1982. 52 exfolis-
tion planta were operating in 32 states.
Asbestos fibers were found floating i in
the air 30 miles away from the vermicu-
lite processing and packaging plants.

The Versar Report estimated that
476,000 Lons of loose-fill vermiculite in-
sulation had been installed during the
nine year period ending in !9N0. expos-
ing 1.6 million instailers and 4.2 million
inhabitants to asbestos fibers. While
these exposures are substantial, they
fail account for the houses mgulaved
with vermiculite before LUT. or after
19k) The exposure of remodelers or

JULY IH”

Bundle af troahle: Tremolite asbestos
fibers in vermiculite attic insulation were
found i, concentrafions as Aigh as §
percent under a scanning electron
MIcrOscOpe.

homeowners who disturbed vermiculite
already in place was not assessed.

Weighing the risk

Experts assume that asbestos fibers in
vertoiculite are only dangerous when
they sre inhaled. Once the insulation is
installed and settles, further exposure
may be limited. Or. activity in attics;
gaps in the framing, holes in cetling light
fixtures, and ventilating air currents
could expose occupants to the invisible
fibers.

“Usually the fibers are shorter than
we would be concerned with in occupa-
tional safety at least as far as the stan-
dard goes." says Dan Crane, supervisor
of asbestos operations at the Occupa-
tional Safety and Health Administra-
tion's {OSHA's} Analyucal Laboratory
in Salt Lake City.

‘The OSHA standard veel: with fibers

that are 6 microns or longer and can be
seen with # phase-contrast microscope.
Based on these criteria, some vermicr
Ste samples contain asbestos while
others do not. When vermiculite
samples are analyzed under an electron
microscope, shorter and finer fibers are
‘found. Whether these fibers should also
concern OSHA is the subject of a rag-
ing controversy.

PROGRESSIVE BUILDER took three
samples of vermiculite loose-Gill insule-
tion from the attic of an old building and
sent them to Shelburne Laboratories,
Ine., in Shelburne, Vt. Ninety percent
of the lab’s work relates to testing
building materials for asbestos and

contained tremolite, a dangerous farm
of asbestos, in concentrations of 1, 2,
and 5 percent. The fibers were up to 200
microns long and less than 1 micron in
diameter. While fibers longer than 5
microns can be inhaled and lodge in the.
lungs, fibers as long as 200 microns
might not be breathable unless they
break apart.

“E want to get more definitive data
on actual percentages aod develop some
statistical numbers,” said Robert. Emer-
son, director and presicent of Shelburne
Laboratories. Meanwhile, Emerson
says, he doesn't believe people should
be alarmed about finding vermiculite in
their attics,

Bill Ewing, who leads the Asbestos
Program Group at Georgia Tech Re
search Institute, states: "Nobody
knows what the hazard would be for
those cases where vermiculite contain-
ing asbestos is present in attics.

“What you don't want is some home
owner going up in the attic and trying
to suck it up with e Shop Vac or some
thing. That would really stir it up.” he
says.

Ewing advises remedial action on a
case-by-case basis. 1f the dust may be
combining with the air supply in oc-
cupied spaces, action ought to he
considered.

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VERHICLEITE SAPPLE ep

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Spiked: Characteristic of tremolite asbestos, fibrous magnesium (Mg) silicate (Si, and
small amounts of calcium (Ca) and iron {Fa} show up on the elemental sean of
vermiculite insulation, Gold jAu) ond palladium {Pd) are used to coat the sample for the

analysis.

“Tf I took several samples and found
3percent tremolite asbestos by polar
ized-light microscopy, and it was in an
open attic where summer clothes were
stored, which were shook out when they
were removed from the attic, then I
would say they had a problem."

Professional behavior

OSHA insists that workers not be ex-
posed to levels of asbestos exceeding an
average of 0.2 Gbers per cubic centi-
meter over an eight-hour period.

If a contractor intends to disturb any
building material suspected of contain-
ing asbestos, the law requires the mate-
rials be tested, If the bulk sample con-
tains more than 0.1 percent of asbestos,
and if the nature of the work seems
likely to raise the airborne levels above
0.1 fiber per cubic centimeter over the
course of eight hours, the contractor has
Lo monitor the air, train workers, mon-
itor their exposure, and comply with
several other provisions. At 0.2 fibers
per cubic centimeter. the permissible ex-
posure level {PEL) has been reached,
triggering the requirement for restricted
entry areas on the job. the use of res-

pirators. and protective clothing forthe .

workers.

Wherever asbestos is present, the
standards apply for these construction
activities in buildings: demolition or
salvage; consgtruction: alverulion: mpair
maintenance: and renovation.

For all practical purposes. Lhe ceyulo-
ions are qumedd al by contractors work:

ing on major projects, Still, whenever
vermiculite is encountered on the job, it
should be tested.

“If the contractor finds it [asbestoe}
he must tell everyone else who is work-
ing there what was found.” counsels
OSHA's Don Crane.

Since January 17, 1987. any construc
tion product with more than 0.1 percent
asbestos has to be labeled. A coaterials
safety data sheet apprises workers of
the contents and advises them on pre
cautionary measures.

In addition to OSHA's involvement,
EPA is expectad to decide by November
30 whether or not it should regulate
the vermiculite manufacturing industry,
which is presently not covered by exist-
ing standards except, possibly, indi-
rectly through controls on the removal
of asbestos in institutional buildings,
commercial structures, and multi-family
housing.

If a building or any part of it is to be
demolished. contractors must search for
asbestos. Suspicious materials must be
examined under a microscope. EPA
steps in if the material contains more
than 1 percent asbestos.

“We will tell the contractor exactly
what to do when removing tt.” says
EPA chemical engineer John Copeland.

“Generally. you have to keep it wet
and in special bags. which are specially
labeled, and then clispose of it at a
special landfill in ua specral way.”

EPA reyulatons intentionally exclude
apartments with less thun four dwelling

units. However, stata or local agencies
have discretionary power to enforce
ulations foc single-family dwellings.
Vermiculite can be analyzed by com-
petant laborataries, A test using a polar
ized-light microscope costs about $36.
Scanning electron microscopy is # bet-
ter test. A laboratory will charge around
$100 for this test, which provides a
chemical analysis of the substance as
wel] as an identification of the fibers.

New products

Vermiculite insulation manufacturers
are aware of the problem. Some pro-
ducers bave told EPA that their
material contains much lesa than | per-
cent asbestos. Others ipport vermicn-
lite from mines believed to be free of
abestos-contaminatd ores.

“Our insulation is clpan." saya Kim
Schundler, marketing manager for the
Schundler Company, a manufacturer of
vermiculite insulation in Metuchen, NJ.
The source of Schundler’s ore is in
South Africa. Schundler brushee off
questions about the social implications
of South African imports.

“Tt [vermiculite] ts not on the list of
embargoed items, and probably never
will ba, because the government uses it
for national defense-type contracts, 50
it is exempt,” be said.

In 1979 Eric Chatfield, formerly the
bead of the now defunct Electron Op-
tical Laboratory at tha Ontario Re
search Foundation. visited South Africa
and personally collected vermiculite
sampples, Under carefully controlled con
ditions, be exfoliated and analyzed the
material None of the vermiculite was
contaminated by asbestos.

Last year, Irina Sherman, project. sci-
entist with the Materials Characteriza-
tion Group at the Ontario Research
Foundation, examined vermiculite from
South Africa for Ontario Hydro. Sher-
men found just a trace of asbestos.

“People were upset. They said, ‘How
come a few years ago it was stated that
there is no asbestos and now you find
some,” "Sherman seid. "Basically, the
[Chatfield] study was done a long time
ago, and you don t know what's happerr
ing over the years when a mine is be
ing explored.”

While sweeping yeneralizations are
impossible, the studies in Canada 90 for
indicate that South African vermiculite
ig virtually pure.

Domestically, mines on the Fust
Coast generally do not vield the coarse
grades of vermiculite fnvored for attic
insulation. Most of the niaterial present
in U.S. houses is likely have come from
South Anca or from Eabby, Mont. -
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